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                         EXHIBIT B




                          EXHIBIT B TO EX PARTE APPLICATION, PAGE 19
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     1 Benjamin N. Gluck - State Bar No. 203997
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     6 1875 Century Park East, 23rd Floor
       Los Angeles, California 90067-2561
     7 Telephone: (310) 201-2100
       Facsimile: (310) 201-2110
     8
       Attorneys for Plaintiff John Doe
     9
    10                              UNITED STATES DISTRICT COURT
    11               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    12
    13 JOHN DOE,                                               CASE NO. 2:21-cv-02803 RGK (MAR)
    14                     Plaintiff,                          DECLARATION OF NICOLE R.
                                                               VAN DYK IN SUPPORT OF
    15               vs.                                       PLAINTIFF’S SURREPLY IN
                                                               OPPOSITION TO DEFENDANTS’
    16 UNITED STATES OF AMERICA;                               MOTION TO DISMISS
       TRACY L. WILKISON (OFFICIAL
    17 CAPACITY), KRISTI KOONS                                 [Filed Concurrently with Plaintiff’s
       JOHNSON (OFFICIAL CAPACITY),                            Surreply in Opposition to Defendants’
    18                                                         Motion to Dismiss]
                Defendants.
    19                                                         Date: July 6, 2021
                                                               Time: 9:00 a.m.
    20                                                         Crtrm.: 850
    21                                                         Assigned to Hon. R. Gary Klausner
    22
                                                               Complaint Filed: March 31, 2021
    23
    24
    25
    26
    27
    28
         3727315.2
          DECLARATION OF NICOLE R. VAN DYK IN SUPPORT OF PLAINTIFF’S SURREPLY IN OPPOSITION TO
                                    DEFENDANTS’ MOTION TO DISMISS
                                  EXHIBIT B TO EX PARTE APPLICATION, PAGE 20
Case 2:21-cv-02803-RGK-MAR Document 30-2 Filed 06/28/21 Page 3 of 27 Page ID #:340




     1                     DECLARATION OF NICOLE R. VAN DYK
     2         I, Nicole R. Van Dyk, declare as follows:
     3         1.     I am an active member of the Bar of the State of California and a
     4 Principal with Bird, Marella, Boxer, Wolpert, Nessim, Drooks, Lincenberg & Rhow,
     5 A Professional Corporation, attorneys of record for Plaintiff in this action. I make
     6 this declaration in support of Plaintiff’s Surreply in Opposition to Defendants’
     7 Motion to Dismiss. Except for those matters stated on information and belief, I
     8 make this declaration based upon personal knowledge and, if called upon to do so, I
     9 could and would so testify.
    10         2.     On June 22, 2021, the Court issued an Order in Snitko v. United States,
    11 21-cv-4405-RGK-MAK, finding that the Government’s administrative forfeiture
    12 notices to the plaintiffs in that case were insufficient. Id., Dkt. 52.
    13         3.     Because the Government used the exact same in language in all of its
    14 administrative forfeiture notices – including the notices purporting to forfeit some of
    15 each Plaintiffs’ seized property – my firm notified the FBI and the Government of
    16 Plaintiff’s objection to any administrative forfeiture based on the constitutionally
    17 insufficient notices. A true and correct copy of the May 20, 2021 notices of
    18 administrative forfeiture, which include some of each Plaintiffs’ property, was
    19 obtained on June 28, 2021 from U.S. Private Vaults’ website,
    20 https://usprivatevaults.com/210520_DOJ_SeizureNotice.pdf, and is attached as
    21 Exhibit A hereto.
    22         4.     The Government’s June 22, 2021 reply in support of its motion to
    23 dismiss asserts that USPV’s claim contesting forfeiture is invalid because the claim
    24 was signed by Michael Singer, who is USPV’s attorney, rather than by the claimant.
    25 However, Mr. Singer explicitly signed the USPV claim in his capacity as authorized
    26 representative for USPV.
    27         5.     Therefore, the day after the Government filed its reply, my firm sent a
    28 letter to the Government asking that it submit an errata clarifying its
       3727315.2
                                                  2
         DECLARATION OF NICOLE R. VAN DYK IN SUPPORT OF PLAINTIFF’S SURREPLY IN OPPOSITION TO
                                   DEFENDANTS’ MOTION TO DISMISS
                             EXHIBIT B TO EX PARTE APPLICATION, PAGE 21
Case 2:21-cv-02803-RGK-MAR Document 30-2 Filed 06/28/21 Page 4 of 27 Page ID #:341




     1 mischaracterization of the capacity in which Mr. Signer signed USPV’s claim.
     2 Attached hereto as Exhibit B is a true and correct copy of the June 23, 2021 letter
     3 from Benjamin N. Gluck to AUSAs Andrew Brown, Victor A. Rodgers, and
     4 Maxwell Coll.
     5               I declare under penalty of perjury under the laws of the United States of
     6 America that the foregoing is true and correct, and that I executed this declaration
     7 on June 28, 2021, at Los Angeles, California.
     8
     9                                                        /s/ Nicole R. Van Dyk
                                                              Nicole R. Van Dyk
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         3727315.2
                                                             3
          DECLARATION OF NICOLE R. VAN DYK IN SUPPORT OF PLAINTIFF’S SURREPLY IN OPPOSITION TO
                                    DEFENDANTS’ MOTION TO DISMISS
                                  EXHIBIT B TO EX PARTE APPLICATION, PAGE 22
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                         EXHIBIT A




                          EXHIBIT B TO EX PARTE APPLICATION, PAGE 23
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                                                                        U.S. Department of Justice

                                                                        Federal Bureau oflnvestigation



                                                                        Washington, DC 20535




    FBI Case Number: 272E-LA-3123472

    The items of property notated in the attached letter have not yet been appraised. A place holder value of
    $1.00 has been used in the letter. Another letter will be sent with updated values when the appraisal of
    those items has been completed.




                                   EXHIBIT B TO EX PARTE APPLICATION, PAGE 24
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                                                                                         U.S. Department of Justice

                                                                                        Federal Bureau of Investigation


                                                                                         Washington, DC 20535



U.S. Private Vaults
c/o Michael Singer
Singer & Larsen P.C.
1291 Galleria Drive
Suite 230
Henderson, NV 89014


                 NOTICE OF SEIZURE OF PROPERTY AND INITIATION OF
                    ADMINISTRATIVE FORFEITURE PROCEEDINGS
                               SEIZED PROPERTY IDENTIFYING INFORMATION
             Notice Date:    May 20, 2021                    IAsset ID Number: Multiple Assets
             Notice Letter ID:   263593 (use ID when searching for assets during online filing)

             Description of Seized Property:      See Attached List

             Seizure Date and Location:       See Attached List

             Forfeiture Authority:    See Attached List

I.   THE GOVERNMENT MAY CONSIDER GRANTING PETITIONS FOR REMISSION OR MITIGATION, WHICH PARDONS ALL
     OR PART OF THE PROPERTY FROM THE FORFEITURE.

     TO REQUEST A PARDON OF THE PROPERTY YOU MUST FILE A PETITION FOR REMISSION OR MITIGATION

     A. What to File: You may file both a claim (see section II below) and a Petition for Remission or Mitigation (Petition). If you
        file only a petition and no one else files a claim, your petition will be decided by the seizing agency.
     B. To File a Petition: A petition should be filed online or by mailing it via the U.S. Postal Service or a Commercial Delivery
        Service to the Federal Bureau of Investigation (FBI), Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite 1700,
        FOB, Los Angeles, CA 90024. It must be received no later than 11 :59 PM EST thirty (30) days of your receipt of this Notice.
        See 28 C.F.R. Parts 8 and 9.
     C. Requirements for Petition: The petition must include a description of your interest in the property supported by
        documentation and any facts you,believe justify the return of the property and be signed under oath, subject to the penalty
        of perjury or meet the requirements of an unsworn statement under penalty of perjury. See 28 U.S.C. § 1746.

     D. Petition Forms: A petition need not be made in any particular form but a standard petition form and the link to file the
        petition online are available at https://www.forfeiture. gov/FilinqPetition.htm. If you wish to file a petition online for the assets
        referenced in the asset list of this letter, please use the Notice Letter ID referenced above.
     E. Supporting Evidence: Although not required, you may submit supporting evidence (for example, title paperwork or bank
        records showing your interest in the seized property) to substantiate your petition.
     F. No Attorney Required: You do not need an attorney to file a petition . You may, however, hire an attorney to represent you
        in filing a petition.
     G. Petition Granting Authority: The ruling official in administrative forfeiture cases is the Unit Chief, Legal Forfeiture Unit,
         Office of the General Counsel. The ruling official in judicial forfeiture cases is the Chief, Money Laundering and Asset
         Recovery Section, Criminal Division, Department of Justice. See 28 C.F.R. § 9.1.
     H.   Regulations for Petition: The Regulations governing the petition process are set forth in 28 C.F.R. Part 9, and are
          available at www.forfeiture. gov.
     I.   Penalties for Filing False or Frivolous Petitions: A petition containing false information may subject the petitioner to
          criminal prosecution under 18 U.S.C. § 1001 and 18 U.S.C. § 1621 .



                                                EXHIBIT B TO EX PARTE APPLICATION, PAGE 25
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U.S. Private Vaults                                              Notice of Seizure


    J.   Online Petition Exclusions: If you cannot find the desired assets online, you must file your petition in writing at the
         address listed above. For more details regarding what assets can be petitioned online, please see the Frequently Asked
         Questions at https://www.forfeiture.gov/FilinqPetitionFAQs.htm.

II. TO CONTEST THE FORFEITURE OF THIS PROPERTY IN UNITED STATES DISTRICT COURT YOU MUST FILE A CLAIM.
    If you do not file a claim, you will waive your right to contest the forfeiture of the asset. Additionally, if no other claims are filed, you may
    not be able to contest the forfeiture of this asset in any other proceeding, criminal or civil.

    A.    To File a Claim: A claim must be filed to contest the forfeiture . A claim should be filed online or by mailing it via the U.S.
          Postal Service or a Commercial Delivery Service to the FBI, Attn : Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite
          1700, FOB, Los Angeles, CA 90024.
    B.    Time Limits: A claim must be filed within 35 days of the date of this letter; therefore, you must file your claim by 11 :59 PM
          EST on June 24, 2021 . See 18 U.S.C. § 983(a)(2) . A claim is deemed filed on the date received by the agency at the
          address listed above.
    C.    Requirements for Claim: A claim must be filed online or in writing, describe the seized property, state your ownership or
          other interest in the property and be made under oath, subject to penalty of perjury or meet the requirements of an unsworn
          statement under penalty of perjury. See 18 U.S.C. § 983(a)(2)(C) and 28 U.S.C. § 1746.
    D.    Claim Forms: A claim need not be made in any particular form, but a standard claim form and the link to file the claim online
          are available at https://www.forfeiture.gov/FilinqClaim.htm. See 18 U.S.C. § 983(a)(2)(D). If you wish to file a claim on line
          for the assets referenced in the asset list of this letter, please use the Notice Letter ID referenced above.

    E.    Supporting Evidence: Although not required, you may submit supporting evidence (for example, title paperwork or bank
          records showing your interest in the seized property) to substantiate your claim.
    F.    No Attorney Required : You do not need an attorney to file a claim . You may, however, hire an attorney to represent you in
          filing a claim.
    G.    When You File a Claim: A timely claim stops the administrative forfeiture proceeding. The seizing agency forwards the
          timely claim to the U.S. Attorney's Office for further proceedings. You may also file a petition for remission or mitigation.

    H.    Penalties for Filing False or Frivolous Claims: If you intentionally file a frivolous claim you may be subject to a civil fine.
          See 18 U.S.C. § 983(h) . If you intentionally file a claim containing false information, you may be subject to criminal
          prosecution. See 18 U.S.C. § 1001.
    I.    If No Claim is Filed : Failure to file a claim by 11 :59 PM EST on June 24, 2021 may result in the property being forfeited to
          the United States.
    J.    Online Claim Exclusions: If you cannot find the desired assets online, you must file your claim in writing and send to the
          address listed above. For more details regarding what assets can be claimed online, please see the Frequently Asked
          Questions at httos://www.forfeiture. gov/Filin gClaimFAQs.htm.

III. TO REQUEST RELEASE OF PROPERTY BASED ON HARDSHIP
    A.   Hardship Release: Upon the filing of a proper claim, a claimant may request release of the seized property during the
         pendency of the forfeiture proceeding due to hardship if the claimant is able to meet specific conditions. See 18 U.S.C. §
         983(f); 28 C.F.R. § 8.15.
    B.   To FIie Hardship Release: The hardship request cannot be filed online and must be in writing . The claimant must
         establish the following :
            · Claimant has a possessory interest in the property;
            · Claimant has sufficient ties to the community to assure that the property will be available at the time of trial ;
                and
            · Government's continued possession will cause a substantial hardship to the claimant.
    C. Regulations for Hardship: A complete list of the hardship provisions can be reviewed at 18 U.S.C. § 983(f) and 28 C.F.R. §
       8.15. Some assets are not eligible for release.




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U.S. Private Vaults                                        Notice of Seizure


Asset List

Seizure Date and Location: The asset(s) referenced in this notice letter were seized on March 22, 2021 by the FBI at U.S.
Private Vaults in Beverly Hills, California.

Forfeiture Authority: The forfeiture of this property has been initiated pursuant to 18 USC 981 (a)(1 )(C) and the following
additional federal laws: 19 U.S.C. §§ 1602-1619, 18 U.S.C. § 983 and 28 C.F.R. Parts 8 and 9.

     ASSET ID         ASSET DESCRIPTION                                                ASSET VALUE            ACCTNIN/SERIAL NO
21-FBl-002917         $100,000.00 U.S. Currency from Box #6712                            $100,000.00
21-FBl-002918         $97,000.00 U.S. Currency from Box #6415                               $97,000.00
21-FBl-002919         $726,300.00 U.S. Currency from Box #6516                            $726,300.00
21-FBl-002920         $325,680.00 U.S. Currency from Box #6615                            $325,680.00
21-FBl-002921 .       $499,800.00 U.S Currency from Box #6616                             $499,800.00
21-FBl-002922         $199,950.00 U.S. Currency from Box #6710                            $199,950.00
21-FBl-002923         $168,500.00 U.S. Currency from Box #6614                            $168,500.00
21-FBl-002925         $364,990.00 U.S. Currency from Box #7012                            $364,990.00
21-FBl-002927         $120,000.00 U.S. Currency from Box #7212                            $120,000.00
21-FBl-002928         $6,980.00 U.S. Currency from Box #6414                                 $6,980.00
21-FBl-002929         $17,003.00 U.S. Currency from Box #7011                               $17,003.00
21-FBl-002930         $14,190.00 U.S. Currency from Box #6706                               $14,190.00
21-FBl-002931         $1,024,900.00 U.S. Currency from Box #8412                        $1,024,900.00
21-FBl-002932         $737,875.00 U.S. Currency from Box #8411                            $737,875.00
21-FBl-002933         $965,775.00 U.S. Currency from Box #8311                            $965,775.00
21-FBl-002934         $66,580.00 U.S. Currency from Box #6111                               $66,580.00
21-FBl-002935         $348,500.00 U.S. Currency from Box #8211                            $348,500.00
21-FBl-002936         $17,960.00 U.S. Currency from Box #6212                               $17,960.00
21-FBl-002937         $362,835.00 U.S. Currency from Box #8212                            $362,835.00
21-FBl-002938         $1,349,900.00 U.S. Currency from Box #7923                        $1,349,900.00
21-FBl-002939         $1,500,090.00 U.S. Currency from Box #.5811                       $1,500,090.00
21-FBl-002940         $399,000.00 U.S. Currency from Box #5911                            $399,000.00
21-FBl-002941         $503,250.00 U.S. Currency from Box #7922                            $503,250.00
21-FBl-002942         $30,995.00 U.S. Currency from Box #8023                               $30,995.00
21-FBl-002943         $341,500.00 U.S. Currency from Box #5512                            $341,500.00
21-FBl-002944         $1,409,200.00 U.S. Currency from Box #5612                        $1 ,409,200.00
21-FBl-002946         $952,600.00 U.S. Currency from Box #5611                            $952,600.00
21-FBl-002947         $125,000.00 U.S. Currency from Box #5711                            $125,000.00
21-FBl-002949         $960,100.00 U.S. Currency from Box #5311                            $960,100.00
21-FBl-002950         $1,138,030.00 U.S. Currency from Box#8409                         $1,138,030.00
21-FBl-002951         $166,246.00 U.S. Currency from Box #5212                            $166,246.00
21-FBl-002953         $168,920.00 U.S. Currency from Box #41                              $168,920.00
21-FBl-002954         $1,856,800.00 U.S. Currency from Box #7321                        $1 ,856,800.00
21-FBl-002955         $241,410.00 U.S. Currency from Box #5163                            $241,410.00
21-FBl-002956         $274,030.00 U.S. Currency from Box #5006                            $274,030.00
21-FBl-002957         $6,672.00 U.S. Currency from Box #6906                                 $6,672.00
21-FBl-002958         $99,800.00 U.S. Currency from Box #6604                               $99,800.00
21-FBl-002959         $300 ,000.00 U.S. Currency from Box #6508                           $300,000.00
21-FBl-002960         $719,710.00 U.S. Currency from Box #5160                            $719,710.00
21-FBl-002961         $149,400.00 U.S. Currency from Box #7315                            $149,400.00
21-FBl-002962         $48,000.00 U.S. Currency from Box #7311                               $48,000.00
21-FBl-002963         $300,000.00 U.S. Currency from Box #5159                            $300,000.00
21-FBl-002964         $126,200.00 U.S. Currency from Box #5155                            $126,200.00
21-FBl-002965         $1,194,750.00 U.S. Currency from Box #40                          $1,194,750.00
21-FBl-002966         $218,950.00 U.S. Currency from Box #5158                            $218,950.00
21-FBl-002967         $150,000.00 U.S. Currency from Box #51                              $150,000.00



                                             EXHIBIT B TO EX PARTE APPLICATION, PAGE 27
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U.S. Privat~ Vaults                                     Notice of Seizure


21-FBl-002968         $390,000.00 U.S. Currency from Box #28                        $390,000.00
21-FBl-002969         $400,900.00 U.S. Currency from Box #39                        $400,900.00
21-FBl-002970         $99,000.00 U.S. Currency from Box #331                          $99,000.00
21-FBl-002971         $9,000.00 U.S. Currency from Box #7318                           $9,000.00
21-FBl-002972         $9,832.00 U.S. Currency from Box #11                             $9,832.00
21-FBl-002973         $59,080.00 U.S. Currency from Box #236                          $59,080.00
21-FBl-002974         $406,500.00 U.S. Currency from Box #4907                      $406,500.00
21-FBl-002975         $24,300.00 U.S. Currency from Box #10                           $24,300.00
21-FBl-002977         $69,180.00 U.S. Currency from Box #5104                         $69,180.00
21-FBl-002978         $288,820.00 U.S. Currency from Box #8                         $288,820.00
21-FBl-002980         $399,700.00 U.S. Currency from Box #5007                      $399,700.00
21-FBl-002981         $36,181.00 U.S. Currency from Box #4906                         $36,181.00
21-FBl-002982         $53,840.00 U.S. Currency from Box #130                          $53,840.00
21-FBl-002983         $62,000.00 U.S. Currency from Box #6                            $62,000.00
21-FBl-002984         $500,000.00 U.S. Currency from Box #3106                      $500,000.00
21-FBl-002985         $1,000,000.00 U.S. Currency from Box #4306                  $1 ,000,000.00
21-FBl-002986         $252,900.00 U.S. Currency from Box #3105                      $252,900.00
21-FBl-002987         $199,900.00 U.S. Currency from Box #4806                      $199,900.00
21-FBl-002988         $190,100.00 U.S. Currency from Box #3                         $190,100.00
21-FBl-002990         $32,111.00 U.S. Currency from Box #7409                         $32,111.00
21-FBl-002993         $299,940.00 U.S. Currency from Box #48                        $299,940.00
21-FBl-002994         $46,970.00 U.S. Currency from Box #233                          $46,970.00
21-FBl-002995         $219,750.00 U.S. Currency from Box #44                        $219,750.00
21-FBl-002996         $241,415.00 U.S. Currency from Box #3102                      $241,415.00
21-FBl-002997         $150,900.00 U.S. Currency from Box #49                        $150,900.00
21-FBl-002998         $43,460.00 U.S. Currency from Box #2205                         $43,460.00
21-FBl-002999         $22,630.00 U.S. Currency from Box #815                          $22,630.00
21-FBl-003000         $43,200.00 U.S. Currency from Box #38                           $43,200.00
21-FBl-003001         $11,780.00 U.S. Currency from Box #229                          $11,780.00
21-FBl-003002         $25,000.00 U.S. Currency from Box #716                          $25,000.00
21-FBl-003003         $45,900.00 U.S. Currency from Box #3103                         $45,900.00
21-FBl-003004         $18,450.00 U.S. Currency from Box #227                          $18,450.00
21-FBl-003005         $50,000.00 U.S. Currency from Box #7517                         $50,000.00
21-FBl-003006         $63,260.00 U.S. Currency from Box #713                          $63,260.00
21-FBl-003007         $76,050.00 U.S. Currency from Box #224                          $76,050.00
21-FBl-003008         $70,000.00 U.S. Currency from Box #3100                         $70,000.00
21-FBl-003009         $46,900.00 U.S. Currency from Box #125                          $46,900.00
21-FBl-003010         $62,400.00 U.S. Currency from Box #7515                         $62,400.00
21-FBl-003012         $285,470.00 U.S. Currency from Box #1005                      $285,470.00
21-FBl-003013         $69,900.00 U.S. Currency from Box #33                           $69,900.00
21-FBl-003014         $25,000.00 U.S. Currency from Box #222                          $25,000.00
21-FBl-003017         $810,000.00 U.S. Currency from Box #5005                      $810,000.00
21-FBl-003018         $45,500.00 U.S. Currency from Box #22                           $45,500.00
21-FBl-003019         $172,000.00 U.S. Currency from Box #117                       $172,000.00
21-FBl-003021         $13,800.00 U.S. Currency from Box #1205                         $13,800.00
21-FBl-003022         $50,650.00 U.S. Currency from Box #615                          $50,650.00
21-FBl-003023         $121,900.00 U.S. Currency from Box #218                       $121,900.00
21-FBl-003024         $21,901 .00 U.S. Currency from Box #221                         $21,901.00
21-FBl-003025         $30,000.00 U.S. Currency from Box #1304                         $30,000.00
21-FBl-003026         $238,900.00 U.S. Currency from Box #316                       $238,900.00
21-FBl-003027         $85,000.00 U.S. Currency from Box #7514                         $85,000.00
21-FBl-003028         $15,000.00 U.S. Currency from Box #1404                         $15,000.00
21-FBl-003029         $172,340.00 U.S. Currency' from Box #321                      $172,340.00
21-FBl-003030         $19,970.00 U.S. Currency from Box #1504                         $19,970.00




                                            EXHIBIT B TO EX PARTE APPLICATION, PAGE 28
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                                            #:348

u.'s: Privat~ Vaults                                     Notice of Seizure


21-FBl-003031          $26,000.00 U.S. Currency from Box #25                          $26,000.00
21-FBl-003032          $105,200.00 U.S. Currency from Box #21                       $105,200.00
21-FBl-003033          $628,740.00 U.S. Currency from Box #1805                     $628,740.00
21-FBl-003034          $51,385.00 U.S. Currency from Box #20                          $51,385.00
21-FBl-003035          $145,000.00 U.S. Currency from Box #1804                     $145,000.00
21-FBl-003036          $696,575.00 U.S. Currency from Box #4207                     $696,575.00
21-FBl-003037          $800,900.00 U.S. Currency from Box #2105                     $800,900.00
21-FBl-003038          $70,360.00 U.S. Currency from Box #513                         $70,360.00
21-FBl-003039          $224,700.00 U.S. Currency from Box #4206                     $224,700.00
21-FBl-003040          $239,100.00 U.S. Currency from Box #2305                      $239,100.00
21-FBl-003041          $219,220.00 U.S. Currency from Box #2404                      $219,220.00
21-FBl-003042          $170,175.00 U.S. Currency from Box #4107                     $170,175.00
21-FBl-003043          $50,000.00 U.S. Currency from Box #2505                        $50,000.00
21-FBl-003044          $16,000.00 U.S. Currency from Box #614                         $16,000.00
21-FBl-003045          $23,204.00 U.S. Currency from Box #2604                        $23,204.00
21-FBl-003046          $21,110.00 U.S. Currency from Box #112                         $21,110.00
21-FBl-003047          $334,200.00 U.S. Currency from Box #2804                     $334,200.00
21-FBl-003048          $439,200.00 U.S. Currency from Box #409                      $439,200.00
21-FBl-003051          $353,810.00 U.S. Currency from Box #4104                     $353,810.00
21-FBl-003052          $200,000.00 U.S. Currency from Box #404                       $200,000.00
21-FBl-003053          $333,000.00 U.S. Currency from Box #505                       $333,000.00
21-FBl-003056          $600,980.00 U.S. Currency from Box #504                       $600,980.00
21-FBl-003057          $149,825.00 U.S. Currency from Box #604                       $149,825.00
21-FBl-003058          $669,980.00 U.S. Currency from Box #3804                      $669,980.00
21-FBl-003059          $75,600.00 U.S. Currency from Box #809                         $75,600.00
21-FBl-003060          $60,000.00 U.S. Currency from Box #111                         $60,000.00
21-FBl-003062          $140,240.00 U.S. Currency from Box #3807                      $140,240.00
21-FBl-003063          $400,000.00 U.S. Currency from Box #805                       $400,000.00
21-FBl-003064          $11,800.00 U.S. Currency from Box #804                         $11,800.00
21-FBl-003066          $96,900.00 U.S. Currency from Box #108                         $96,900.00
21-FBl-003067          $63,408.00 U.S. Currency from Box #106                         $63,408.00
21-FBl-003068          $24,300.00 U.S. Currency from Box #2712                        $24,300.00
21-FBl-003069          $1,182,500.00 U.S. Currency from Box#3907                   $1,182,500.00
21-FBl-003071          $163,051.00 U.S. Currency from Box #4706                      $163,051 .00
21-FBl-003072          $1,809,450.00 U.S. Currency from Box #4007                  $1,809,450.00
21-FBl-003075          $34,200.00 U.S. Currency from Box #305                         $34,200.00
21-FBl-003077          $175,100.00 U.S. Currency from Box#7732                       $175,100.00
21-FBl-003078          $445,050.00 U.S. Currency from Box #3606                      $445,050.00
21-FBl-003079          $210,000.00 U.S. Currency from Box #7630                      $210,000.00
21-FBl-003080          $848,400.00 U.S. Currency from Box #4606                      $848,400.00
21-FBl-003081          $48,800.00 U.S. Currency from Box #2810                        $48,800.00
21-FBl-003082          $71,940.00 U.S. Currency from Box #8302                        $71,940.00
21-FBl-003083          $73,700.00 U.S. Currency from Box #201                         $73,700.00
21-FBl-003084          $914,700.00 U.S. Currency from Box #904                       $914,700.00
21-FBl-003085          $25,000.00 U.S. Currency from Box #302                         $25,000.00
21-FBl-003086          $38,000.00 U.S. Currency from Box #4905                        $38,000.00
21-FBl-003088          $296,860.00 U.S. Currency from Box #3506                      $296,860.00
21-FBl-003089          $841,170.00 U.S. Currency from Box#4904                       $841,170.00
21-FBl-003090          $400,000.00 U.S. Currency from Box #503                       $400,000 .00
21-FBl-003091          $50,000.00 U.S. Currency from Box #603                         $50,000.00
21-FBl-003094          $2,066,900.00 U.S. Currency from Box #3704                  $2,066,900.00
21-FBl-003095          $41 ,600.00 U.S. Currency from Box #502                        $41,600.00
21-FBl-003096          $489,940.00 U.S. Currency from Box #4506                      $489,940.00
21-FBl-003097          $600,000.00 U.S. Currency from Box #501                       $600,000.00




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21-FBl-003098          $613,960.00 U.S. Currency from Box #4006                      $613,960.00
21-FBl-003099          $457,500.00 U.S. Currency from Box #500                       $457,500.00
21-FBl-003100          $524,370.00 U.S. Currency from Box #4805                      $524,370.00
21-FBl-003101          $427,820.00 U.S. Currency from Box #401                       $427,820.00
21-FBl-003102          $200,000.00 U.S. Currency from Box #703                       $200,000.00
21-FBl-003103          $710,000.00 U.S. Currency from Box #4804                      $710,000.00
21-FBl-003104          $1,083,740.00 U.S. Currency from Box #4704                  $1,083,740.00
21-FBl-003106          $75,200.00 U.S. Currency from Box #7920                         $75,200.00
21-FBl-003107          $73,890.00 U.S. Currency from Box #702                          $73,890.00
21-FBl-003109          $105,000.00 U.S. Currency from Box #4604                      $105,000.00
21-FBl-003110          $10,000.00 U.S. Currency from Box #4605                         $10,000.00
21-FBl-003111          $143,900.00 U.S. Currency from Box #8005                      $143,900.00
21-FBl-003112          $51,024.00 U.S. Currency from Box #3505                         $51,024.00
21-FBl-003113          $340,050.00 U.S. Currency from Box #902                       $340,050.00
21-FBl-003114          $10,000.00 U.S. Currency from Box #7917                         $10,000.00
21-FBl-003115          $69,950.00 U.S. Currency from Box #7913                         $69,950.00
21-FBl-003118          $76,550.00 U.S. Currency from Box #901                          $76,550.00
21-FBl-003119          $358,400.00 U.S. Currency from Box #3507                      $358,400.00
21-FBl-003120          $48,800.00 U.S. Currency from Box #7911                         $48,800.00
21-FBl-003121          $443,000.00 U.S. Currency from Box #5002                      $443,000.00
21-FBl-003122          $190,000.00 U.S. Currency from Box #4505                      $190,000.00
21-FBl-003124          $18,200.00 U.S. Currency from Box #700                          $18,200.00
21-FBl-003125          $748,840.00 U.S. Currency from Box #3305                      $748,840.00
21-FBl-003126          $85,245.00 U.S. Currency from Box #4504                         $85,245.00
21-FBl-003129          $109,550.00 U.S. Currency from Box #802                       $109,550.00
21-FBl-003130          $595,000.00 U.S. Currency from Box #4404                      $595,000.00
21-FBl-003131          $519,900.00 U.S. Currency from Box #3304                      $519,900.00
21-FBl-003132          $170,000.00 U.S. Currency from Box #4305                      $170,000.00
21-FBl-003133          $102,080.00 U.S. Currency from Box #800                       $102,080.00
21-FBl-003135          $225,000.00 U.S. Currency from Box #3406                      $225,000.00
21-FBl-003136          $175,900.00 U.S. Currency from Box #4901                      $175,900.00
21-FBl-003137          $22,206.00 U.S. Currency from Box #5410                         $22,206.00
21-FBl-003138          $370,170.00 U.S. Currency from Box #3404                      $370,170.00
21-FBl-003139          $246,610.00 U.S. Currency from Box #4900                      $246,610.00
21-FBl-003140          $81,100.00 U.S. Currency from Box #3605                         $81 ,100.00
21-FBl-003141          $340,000.00 U.S. Currency from Box #5409                      $340,000.00
21-FBl-003142          $144,620.00 U.S. Currency from Box #1003                      $144,620.00
21-FBl-003143          $10,000.00 U.S. Currency from Box #3307                         $10,000.00
21-FBl-003144          $63,820.00 U.S. Currency from Box #5407                         $63,820.00
21-FBl-003146          $155 ,150.00 U.S. Currency from Box #3904                     $155,150.00
21-FBl-003147          $244,400.00 U.S. Currency from Box #3206                      $244,400.00
21-FBl-003148          $599,870.00 U.S. Currency from Box #1000                      $599,870.00
21-FBl-003149          $1,207,685.00 U.S. Currency from Box #3707                  $1,207,685.00
21-FBl-003150          $145,600.00 U.S. Currency from Box #3204                      $145,600.00
21-FBl-003151          $144,100.00 U.S. Currency from Box #1102                      $144,100.00
21-FBl-003152          $700,000.00 U.S. Currency from Box #3706                      $700,000.00
21-FBl-003153          $63,660.00 U.S. Currency from Box #204                          $63,660.00
21-FBl-003154          $570,000.00 U.S. Currency from Box #400                       $570,000.00
21-FBl-003155          $36,000.00 U.S. Currency from Box #3705                         $36,000.00
21-FBl-003156          $30,000.00 U.S. Currency from Box #4803                         $30,000.00
21-FBl-003157          $1 ,039,900.00 U.S. Currency from Box #3019                 $1 ,039,900.00
21-FBl-003158          $349,750.00 U.S. Currency from Box #4802                      $349,750.00
21-FBl-003159          $250,000.00 U.S. Currency from Box #1101                      $250,000.00
21-FBl-003160          $589,900.00 U.S. Currency from Box #4800                      $589,900.00




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21-FBl-003161         $22,000.00 U.S. Currency from Box #5308                       $22,000.00
21-FBl-003162         $10,100.00 U.S. Currency from Box #4701                       $10,100.00
21-FBl-003163         $140,000.00 U.S. Currency from Box #4700                     $140,000.00
21-FBl-003164         $15,000.00 U.S. Currency from Box #5307                       $15,000.00
21-FBl-003166         $200,400.00 U.S. Currency from Box #5210                     $200,400.00
21-FBl-003167         $690,000.00 U.S. Currency from Box #4503                     $690,000.00
21-FBl-003168         $30,000.00 U.S. Currency from Box #3203                       $30,000.00
21-FBl-003169         $709,900.00 U.S. Currency from Box #4502                     $709,900.00
21-FBl-003171         $20,000.00 U.S. Currency from Box #1212                       $20,000.00
21-FBl-003172         $153,100.00 U.S. Currency from Box #3201                     $153,100.00
21-FBl-003173         $487,280.00 U.S. Currency from Box #4403                     $487,280.00
21-FBl-003174         $129,000.00 U.S. Currency from Box #1208                     $129,000.00
21-FBl-003175         $90,000.00 U.S. Currency from Box #3200                       $90,000.00
21-FBl-003176         $79,009.00 U.S. Currency from Box #4500                       $79,009.00
21-FBl-003177         $9,950.00 U.S. Currency from Box #1312                         $9,950.00
21-FBl-003178         $30,914.00 U.S. Currency from Box #1306                       $30,914.00
21-FBl-003179         $15,000.00 U.S. Currency from Box #3903                       $15,000.00
21-FBl-003180         $305,000.00 U.S. Currency from Box #4303                     $305,000.00
21-FBl-003181         $100,000.00 U.S. Currency from Box #3502                     $100,000.00
21-FBl-003182         $60,200.00 U.S. Currency from Box #1412                       $60,200.00
21-FBl-003183         $330,020.00 U.S. Currency from Box #4300                     $330,020.00
21-FBl-003184         $50,000.00 U.S. Currency from Box #3501                       $50,000.00
21-FBl-003185         $240,000.00 U.S. Currency from Box #4203                     $240,000.00
21-FBl-003186         $40,200.00 U.S. Currency from Box #1810                       $40,200.00
21-FBl-003187         $63,000.00 U.S. Currency from Box #3602                       $63,000.00
21-FBl-003188         $392,530.00 U.S. Currency from Box #4202                     $392,530.00
21-FBl-003189         $70,100.00 U.S. Currency from Box #1303                       $70,100.00
21-FBl-003190         $100,206.00 U.S. Currency from Box #4200                     $100,206.00
21-FBl-003191         $377,850.00 U.S. Currency from Box #3600                     $377,850.00
21-FBl-003192         $321,500.00 U.S. Currency from Box #1302                     $321,500.00
21-FBl-003193         $66,200.00 U.S. Currency from Box #3703                       $66,200.00
21-FBl-003195         $254,120.00 U.S. Currency from Box #1301                     $254,120.00
21-FBl-003196         $619,014.00 U.S. Currency from Box #3702                     $619,014.00
21-FBl-003197         $170,000.00 U.S. Currency from Box #4100                     $170,000.00
21-FBl-003198         $419,895.00 U.S. Currency from Box #3701                     $419,895.00
21-FBl-003199         $516,900.00 U.S. Currency from Box #4002                     $516,900.00
21-FBl-003200         $10,000.00 U.S. Currency from Box #1300                       $10,000.00
21-FBl-003201         $107,524.00 U.S. Currency from Box #3700                     $107,524.00
21-FBl-003202         $21,000.00 U.S. Currency from Box #3900                       $21,000.00
21-FBl-003203         $8,560.00 U.S. Currency from Box #1903                         $8,560.00
21-FBl-003204         $200,000.00 U.S. Currency from Box #3801                     $200,000.00
21-FBl-003205         $223,040.00 U.S. Currency from Box #1402                     $223,040.00
21-FBl-003206         $256,276.00 U.S. Currency from Box #1401                     $256,276.00
21-FBl-003207         $284,792.00 U.S. Currency from Box #1400                     $284,792.00
21-FBl-003208         $180,700.00 U.S. Currency from Box #5203                     $180,700.00
21-FBl-003209         $218,000.00 U.S. Currency from Box #5202                     $218,000.00
21-FBl-003210         $99,964.00 U.S. Currency from Box #5306                       $99,964.00
21-FBl-003211         $680,000.00 U.S. Currency from Box #5509                     $680,000.00
21-FBl-003212         $200,000.00 U.S. Currency from Box #1502                     $200,000.00
21-FBl-003213         $224,800.00 U.S. Currency from Box #5508                     $224,800.00
21-FBl-003214         $20,000.00 U.S. Currency from Box #2906                       $20,000.00
21-FBl-003216         $389,900.00 U.S. Currency from Box #1500                     $389,900.00
21-FBl-003217         $120,318.00 U.S. Currency from Box #5610                     $120,318.00
21-FBl-003219         $117,200.00 U.S. Currency from Box #5609                     $117,200.00




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21-FBl-003220         $78,116.00 U.S. Currency from Box #7626                       $78,116.00
21-FBl-003221         $222,780.00 U.S. Currency from Box #5709                     $222,780.00
21-FBl-003222         $103,615.00 U.S. Currency from Box #1603                     $103,615.00
21-FBl-003223         $5,000.00 U.S. Currency from Box #7827                         $5,000.00
21-FBl-003224         $52,250.00 U.S. Currency from Box #8016                       $52,250.00
21-FBl-003225         $20,000.00 U.S. Currency from Box #5707                       $20,000.00
21-FBl-003226         $300,000.00 U.S. Currency from Box #7210                     $300,000.00
21-FBl-003227         $65,500.00 U.S. Currency from Box #5608                       $65,500.00
21-FBl-003228         $106,000.00 U.S. Currency from Box #8014                     $106,000.00
21-FBl-003229         $150,100.00 U.S. Currency from Box #5501                     $150,100.00
21-FBl-003230         $70,000.00 U.S. Currency from Box #5706                       $70,000.00
21-FBl-003231         $230,172.00 U.S. Currency from Box #5703                     $230, 172.00
21-FBl-003232         $40,000.00 U.S. Currency from Box #5702                       $40,000.00
21-FBl-003234         $120,800.00 U.S. Currency from Box #5809                     $120,800.00
21-FBl-003235         $40,000.00 U.S. Currency from Box #5807                       $40,000.00
21-FBl-003236         $11,280.00 U.S. Currency from Box #7627                       $11,280.00
21-FBl-003237         $61,780.00 U.S. Currency from Box #7727                       $61,780.00
21-FBl-003238         $30,000.00 U.S. Currency from Box #5910                       $30,000.00
21-FBl-003239         $32,000.00 U.S. Currency from Box #8017                       $32,000.00
21-FBl-003240         $107,700.00 U.S. Currency from Box #8012                     $107,700.00
21-FBl-003242         $63,900.00 U.S. Currency from Box #5909                       $63,900.00
21-FBl-003243         $60,840.00 U.S. Currency from Box #8015                       $60,840.00
21-FBl-003244         $8,000.00 U.S. Currency from Box #7110                         $8,000.00
21-FBl-003245         $99,129.00 U.S. Currency from Box #5908                       $99,129.00
21-FBl-003246         $24,800.00 U.S. Currency from Box #8013                       $24,800.00
21-FBl-003247         $57,000.00 U.S. Currency from Box #7622                       $57,000.00
21-FBl-003249         $29,500.00 U.S. Currency from Box #8116                       $29,500.00
21-FBl-003250         $52,100.00 U.S. Currency from Box #7720                       $52,100.00
21-FBl-003251         $50,000.00 U.S. Currency from Box #7812                       $50,000.00
21-FBl-003252         $19,842.00 U.S. Currency from Box #8112                       $19,842.00
21-FBl-003253         $15,118.00 U.S. Currency from Box #7207                       $15,118.00
21-FBl-003254         $18,000.00 U.S. Currency from Box #7619                       $18,000.00
21-FBl-003255         $26,000.00 U.S. Currency from Box #8113                       $26,000.00
21-FBl-003256         $71,600.00 U.S. Currency from Box #7616                       $71,600.00
21-FBl-003257         $20,900.00 U.S. Currency from Box #7617                       $20,900.00
21-FBl-003260         $104,230.00 U.S. Currency from Box #1902                     $104,230.00
21-FBl-003262         $72,980.00 U.S. Currency from Box #1901                       $72,980.00
21-FBl-003263         $19,100.00 U.S. Currency from Box #7808                       $19,100.00
21-FBl-003264         $173,700.00 U.S. Currency from Box #1803                     $173,700.00
21-FBl-003265         $500,100.00 U.S. Currency from Box #6110                     $500,100.00
21-FBl-003266         $475,440.00 U.S. Currency from Box #2003                     $475,440.00
21-FBl-003267         $207,100.00 U.S. Currency from Box #2001                     $207,100.00
21-FBl-003268         $549,820.00 U.S. Currency from Box #6109                     $549,820.00
21-FBl-003270         $15,900.00 U.S. Currency from Box #2102                       $15,900.00
21-FBl-003271         $33,120.00 U.S. Currency from Box #2101                       $33,120.00
21-FBl-003272         $150,000.00 U.S. Currency from Box #3002                     $150,000.00
21-FBl-003273         $165,000.00 U.S. Currency from Box #2100                     $165,000.00
21-FBl-003274         $215,700.00 U.S. Currency from Box #3001                     $215,700.00
21-FBl-003275         $480,000.00 U.S. Currency from Box #1703                     $480,000.00
21-FBl-003276         $25,000.00 U.S. Currency from Box #7716                       $25,000.00
21-FBl-003277         $10,000.00 U.S. Currency from Box #7707                       $10,000.00
21-FBl-003278         $225,200.00 U.S. Currency from Box #6207                     $225,200.00
21-FBl-003279         $50,000.00 U.S. Currency from Box #2206                       $50,000.00
21-FBl-003280         $225,390.00 U.S. Currency from Box #3000                     $225,390.00




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21-FBl-003281          $158,200.00 U.S. Currency from Box #2201                       $158,200.00
21-FBl-003282          $500,600.00 U.S. Currency from Box #6310                       $500,600.00
21-FBl-003283          $40,590.00 U.S. Currency from Box #2200                         $40,590.00
21-FBl-003285          $194,900.00 U.S. Currency from Box #2901                       $194,900.00
21-FBl-003286          $104,260.25 U.S. Currency from Box #1602                       $104,260.25
21-FBl-003287          $92,350.00 U.S. Currency from Box #6306                         $92,350.00
21-FBl-003288          $572,700.00 U.S. Currency from Box #1601                       $572,700.00
21-FBl-003290          $29,200.00 U.S. Currency from Box #6108                         $29,200.00
21-FBl-003292          $268,600.00 U.S. Currency from Box #1600                       $268,600.00
21-FBl-003293          $69,610.00 U.S. Currency from Box #7704                         $69,610.00
21-FBl-003295          $20,000.00 U.S. Currency from Box #2409                         $20,000.00
21-FBl-003296          $35,000.00 U.S. Currency from Box #1701                         $35,000.00
21-FBl-003297          $35,900.00 U.S. Currency from Box #7702                         $35,900.00
21-FBl-003298          $237,555.00 U.S. Currency from Box #2610                       $237,555.00
21-FBl-003299          $183,900.00 U.S. Currency from Box #7103                       $183,900.00
21-FBl-003300          $50,100.00 U.S. Currency from Box #2512                         $50,100.00
21-FBl-003301          $99,900.00 U.S. Currency from Box #7209                         $99,900.00
21-FBl-003302          $83,860.00 U.S. Currency from Box #2302                         $83,860.00
21-FBl-003303          $100,100.00 U.S. Currency from Box #7802                       $100,100.00
21-FBl-003304          $20,000.00 U.S. Currency from Box #7010                         $20,000.00
21-FBl-003305          $88,010.00 U.S. Currency from Box #6104                         $88,010.00
21-FBl-003306          $89,700.00 U.S. Currency from Box #6203                         $89,700.00
21-FBl-003307          $250,100.00 U.S. Currency from Box #2300                       $250,100.00
21-FBl-003308          $35,000.00 U.S Currency from Box #7800                          $35,000.00
21-FBl-003309          $56,800.00 U.S. Currency from Box #2403                         $56,800.00
21-FBl-003310          $497,900.00 U.S. Currency from Box #7403                       $497,900.00
21-FBl-003312          $79,900.00 U.S. Currency from Box #7306                         $79,900.00
21-FBl-003313          $79,603.00 U.S. Currency from Box #2401                         $79,603.00
21-FBl-003314          $37,700.00 U.S. Currency from Box #7601                         $37,700.00
21-FBl-003315          $150,000.00 U.S. Currency from Box #2503                       $150,000.00
21-FBl-003316          $86,700.00 U.S. Currency from Box #7109                         $86,700.00
21-FBl-003317          $412,000.00 U.S. Currency from Box #7505                       $412,000.00
21-FBl-003318          $100,000.00 U.S. Currency from Box #7700                       $100,000.00
21-FBl-003319          $260,756.00 U.S. Currency from Box #2501                       $260,756.00
21-FBl -003320         $95,315.00 U.S. Currency from Box #2502                         $95,315.00
21-FBl-003321          $190,000.00 U.S. Currency from Box #7006                       $190,000.00
21-FBl-003324          $288,700.00 U.S. Currency from Box #2010                       $288,700.00
21-FBl-003330          7 Pieces of Miscellaneous Jewelry from Box #6712                     $1 .00
                                    1     Cartier Bracelet with Diamond                     $1 .00
                                    1     Cartier Bracelet - Nail Shape                     $1.00
                                    1     Diamond Tennis Bracelet - Silver                  $1.00
                                    1     Gold Necklace - 18"                               $1.00
                                    1     2 Tone Rolex Men's Watch                          $1.00
                                    1     Gold with Diamonds Rolex Men's Watch              $1.00
                                    1     Platinum Rolex Men's Watch                        $1.00
21-FBl-003331          196 Miscellaneous Collectible Coins from Box #6516                   $1 .00
                                    5     Gold Krugerands 1977, 1978, 1981                  $1 .00
                                    3     1992- Walking Liberty Gold 1oz. $50 Coin          $1 .00
                                    2     1993- Walking Liberty Gold 1oz. $50 Coin          $1 .00
                                    2     1994- Walking Liberty Gold 1oz. $50 Coin          $1 .00
                                    6     1997- Walking Liberty Gold 1oz. $50 Coin          $1 .00
                                   10     1998-Walking Liberty Gold 1oz. $50 Coin           $1 .00
                                   11     1999- Walking Liberty Gold 1oz. $50 Coin          $1 .00
                                    3     2000- Walking Liberty Gold 1oz. $50 Coin          $1.00
                                    1     2001- Walking Liberty Gold 1oz. $50 Coin          $1.00




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                                  1    2002- Walking Liberty Gold 1oz. $50 Coin           $1.00
                                  5    2003- Walking Liberty Gold 1oz. $50 Coin           $1 .00
                                 10    2004- Walking Liberty Gold 1oz. $50 Coin           $1.00
                                 12    2005- Walking Liberty Gold 1oz. $50 Coin           $1.00
                                  4    2006- Walking Liberty Gold 1oz. $50 Coin           $1.00
                                  4    2008- Walking Liberty Gold 1oz. $50 Coin           $1 .00
                                 18    2009- Walking Liberty Gold 1oz. $50 Coin           $1 .00
                                  5    2010- Walking Liberty Gold 1oz. $50 Coin           $1.00
                                 13    2011- Walking Liberty Gold 1oz. $50 Coin           $1.00
                                  5    2012- Walking Liberty Gold 1oz. $50 Coin           $1.00
                                 11    2013- Walking Liberty Gold 1oz. $50 Coin           $1.00
                                  1    2014- Walking Liberty Gold 1oz. $50 Coin           $1 .00
                                 17    2015- Walking Liberty Gold 1oz. $50 Coin           $1.00
                                  9    2016-Walking Liberty Gold 1oz. $50 Coin            $1.00
                                  6    2017- Walking Liberty Gold 1oz. $50 Coin           $1.00
                                  9     1986- MCMLXXXII Roman                             $1.00
                                       Numeral - Walking Liberty Gold 1oz. $50
                                   8    1987- MCMLXXXVII Roman                            $1.00
                                        Numeral - Walking Liberty Gold 1oz. $50
                                   7    1988- MCMLXXXVIII Roman                           $1.00
                                       Numeral - Walking Liberty Gold 1oz. $50
                                   4    1989- MCMLXXXIX Roman                             $1.00
                                       Numeral - Walking Liberty Gold 1oz. $50
                                   2    1990- MCMXC Roman Numeral - Walking               $1.00
                                       Liberty Gold 1oz. $50 Coin
                                   2    1991- MCMXCI Roman Numeral - Walking              $1.00
                                       Liberty Gold 1oz. $50 Coin
21-F Bl-003332        880 Miscellaneous Collectible Coins & 1 piece of jewelry from       $1.00
                      Box #1304
                                240    2016- Walking Liberty 1oz Fine Silver - One        $1.00
                                        Dollar Coin
                                  80   2019-Walking Liberty 1oz Fine Silver - One         $1.00
                                        Dollar Coin
                                140    2016- Walking Liberty 1oz Fine Silver- One         $1 .00
                                        Dollar Coin
                                160    2019- Walking Liberty 1oz Fine Silver - One        $1.00
                                        Dollar Coin
                                  30   2011- Liberty Indian Head 1oz Fine                 $1.00
                                       Gold - $50 Coin
                                  40    2012 -Liberty Indian Head 1oz Fine                $1.00
                                       Gold - $50 Coin
                                  10   2017- Liberty Indian Head 1oz Fine                 $1.00
                                       Gold - $50 Coin
                                140    2016- Liberty Indian Head 1oz Fine                 $1 .00
                                        Silver - $50 Coin
                                  40   2019- Liberty Indian Head 1oz Fine                 $1.00
                                        Silver - $50 Coin
                                       Tiffany Key Pendant with Chain                     $1.00
21-FBl-003333         10 Gold Bars from Box #44                                           $1 .00
                                   1    1oz Credit Suisse Gold Bar                        $1 .00   209764
                                   1    1oz Credit Suisse Gold Bar                        $1.00    209757
                                   1    1oz Credit Suisse Gold Bar                        $1.00    209756
                                   1    1oz Credit Suisse Gold Bar                        $1.00    209755
                                   1    1oz Credit Suisse Gold Bar                        $1.00    176927
                                   1    1oz Credit Suisse Gold Bar                        $1 .00   209750
                                   1    1oz Credit Suisse Gold Bar                        $1.00    209751
                                   1    1oz Credit Suisse Gold Bar                        $1.00    209752
                                   1    1oz Credit Suisse Gold Bar                        $1.00    209753



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                                    1   1oz Credit Suisse Gold Bar                        $1.00    209754
21-FBl-003334         1 Gold Bar & 6 Pieces of Miscellaneous Jewelry from Box             $1.00
                      #5311
                                    1   Metalor- 1 Kilo Gold Bar                          $1.00    14258012
                                    1   Cartier Love Rose Gold Bracelet                   $1.00    BUE349
                                    1   Cartier Love 18kt Bracelet                        $1.00    AGA633
                                    1   Cartier Love Ring                                 $1.00    EFl594
                                    1   Men's Ring - 18kt Yellow Gold                     $1.00
                                    1   Tiger Eye- Unknown Metal Pendant                  $1.00
                                    1   Cartier Nail Bracelet 18kt Rose Gold              $1.00    DUD135
21-FBl-003335         1 Gold Bar from Box #224                                            $1 .00
                                    1   UBS 1 Kilo Gold 999.9                             $1.00    0276970
21-FBl-003336         15 Miscellaneous Collectible Coins from Box #10                     $1.00
                                  14    2012- Commemorative 1oz Silver Coin               $1.00
                                    1   Canada 1oz Fine Gold $50 Coin                     $1.00
21-FBl-003339         24 Miscellaneous Collectible Coins from Box #6614                   $1.00
                                  20    Standing Liberty 1oz Fine Gold $50 Coin           $1 .00
                                    2   Standing Liberty 1oz Fine Gold $50 Coin           $1.00
                                    1   Standing Liberty 112oz Fine Gold $25 Coin         $1.00
                                    1   1914 Roman Head - Gold Coin - with 1              $1.00
                                        Container
21-FBl-003340         51 Miscellaneous Collectible Coins from Box #8311                   $1 .00
                                    9   $100 1oz Platinum Coins                           $1.00
                                    9   $100 1oz Platinum Coins                           $1.00
                                    9   $100 1oz Platinum Coins                           $1.00
                                  10    $50 1oz Platinum Coins                            $1.00
                                  14    1oz PAMP Suisse Fine Gold                         $1.00    C257457
                                  14    1oz PAMP Suisse Fine Gold                         $1.00    C257458
                                  14    1oz PAMP Suisse Fine Gold                         $1.00    C257459
                                  14    1oz PAMP Suisse Fine Gold                         $1.00    C257460
                                  14    1oz PAMP Suisse Fine Gold                         $1.00    C257461
                                  14    1oz PAMP Suisse Fine Gold                         $1 .00   C257462
                                  14    1oz PAMP Suisse Fine Gold                         $1 .00   C257463
                                  14    1oz PAMP Suisse Fine Gold                         $1.00    C257464
                                  14    1oz PAMP Suisse Fine Gold                         $1.00    C257465
                                  14    1oz PAMP Suisse Fine Gold                         $1.00    C257466
                                  14    1oz PAMP Suisse Fine Gold                         $1.00    C257467
                                  14    1oz PAMP Suisse Fine Gold                         $1 .00   C257468
                                  14    1oz PAMP Suisse Fine Gold                         $1.00    C257469
                                  14    1oz PAMP Suisse Fine Gold                         $1.00    C257470
21-FBl-003343         26 Miscellaneous Yellow and White Colored Coins from Box            $1.00
                      #1401
21-FBl-003344         385 Miscellaneous Yellow Colored Coins from Box #4100               $1 .00
21-FBl-003345         94 Miscellaneous Yellow Colored Coins and Bars from Box             $1.00
                      #1502
21-FBl-003347         59 Miscellaneous Yellow and White Colored Coins and Bars            $1.00
                      from Box #3900
21-FBl-003348         10 Miscellaneous Yellow Colored Coins from Box #8014                $1.00
21-FBl-003349         325 Miscellaneous Yellow and White Colored Coins, and               $1.00
                      Miscellaneous Batch of Coins from Box #2906
21-FBl-003350         55 Pieces of Miscellaneous Jewelry, 48 Miscellaneous Yellow         $1.00
                      and White Colored Coins, and 9 Yellow Colored Bars from
                      Box#3603
21-FBl-003351         6 Miscellaneous Pieces of Jewelry from Box #7812                    $1 .00
21-FBl-003352         66 Miscellaneous Pieces of Jewelry from Box #7207                   $1.00
21-FBl-003353         71 Pieces of Miscellaneous Jewelry and 65 Yellow Colored            $1.00
                      Bars from Box #2004



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21-FBl-003354         4 Miscellaneous Pieces of Jewelry from Box #8113                    $1.00
21-FBl-003355         29 Miscellaneous Yellow Colored Coins from Box #8016                $1.00
21-FBl-003356         6 Miscellaneous Yellow Colored Bars from Box #5703                  $1.00
21-FBl-003357         5 Miscellaneous Pieces of Jewelry from Box #5702                    $1.00
21-FBl-003358         354 Yellow Colored Coins from Box #5909                             $1.00
21-FBl-003359         67 Miscellaneous Pieces of Jewelry from Box #5910                   $1.00
21-FBl-003360         1 Miscellaneous Piece of Jewelry and 6 Yellow Colored Gold          $1.00
                      Bars from Box #8112
21-FBl-003361         3 Miscellaneous Yellow Colored Bars and 3 Miscellaneous             $1.00
                      Pieces of Jewelry from Box #1500
21-FBl-003362         59 Miscellaneous Yellow and White Colored Coins from Box            $1.00
                      #6409
21-FBl-003363         5 Miscellaneous Yellow Colored Coins from Box #1601                 $1.00
21-FBl-003364         401 Miscellaneous Yellow and White Colored Coins and 9              $1.00
                      Miscellaneous Yellow and White Colored Bars from Box
                      #8307
21-FBl-003365         62 Miscellaneous Yellow Colored Coins and Bars from Box             $1.00
                      #1602
21-FBl-003367         86 Miscellaneous Yellow and White Colored Coins and Bar             $1.00
                      from Box #7808
21-FBl-003368         24 Miscellaneous Pieces of Jewelry from Box #7010                   $1.00
21-FBl-003369         8 Miscellaneous Yellow and White Colored Coins from Box             $1.00
                      #2302
21-FBl-003370         39 Miscellaneous Yellow Colored Coins from Box #1600                $1.00
21-FBl-003371         19 Miscellaneous Pieces of Jewelry from Box #7109                   $1.00
21-FBl-003372         7 Miscellaneous Yellow Colored Bars from Box #2501                  $1.00
21-FBl-003373         170 Miscellaneous Yellow Colored Bars from Box #1803                $1.00
21-FBl-003375         77 Miscellaneous Yellow and White Colored Coins from Box            $1.00
                      #2502
21-FBl-003376         60 Miscellaneous Yellow Colored Coins and Bars from Box             $1.00
                      #2503
21-FBl-003379         5 Miscellaneous Collectible Coins from Box #6906                    $1.00
                                   1    1876 George T. Morgan $100 1oz Pure               $1.00
                                        Gold, Coin in Display Box
                                   1    2007 Natural Series Gold Coin Set - 1 spot        $1.00
                                        missing coin in display box
                                   1    1893 Gold $10 Coin                                $1.00
                                   1    1889 Gold $20 Coin                                $1.00
                                   1    1910 Gold Liberty Indian Head $5 Coin             $1.00
21-FBl-003380         2 Miscellaneous Men's Watches from Box #6604                        $1.00
                                   1    Rolex Men's Silver Watch with Black Face          $1.00
                                   1    Rolex Men's Watch 2-Tone with Blue Face           $1.00
                                        with Green Felt Bag
21-FBl-003381         26 Pieces of Miscellaneous Women's Jewelry from Box #3103           $1.00

                                   1   26 Pieces of Womens Jewelry                        $1.00
21-FBl-003382         88 Miscellaneous Jewelry and Watches from Box #5158                 $1.00
                                   6   Men's Watches in Pouch                             $1.00
                                   6   Men's Watches in Pouch                             $1.00
                                   6   Men's Watches in Pouch                             $1.00
                                   6   Men's Watches in Pouch                             $1.00
                                   7   Men's Watches in Velvet Bag                        $1.00
                                   1   Watch in Velvet Bag                                $1.00
                                  4    Watches in Pouch                                   $1.00
                                  6    Men's Watches in Pouch                             $1.00
                                  6    Men's Watches in Pouch                             $1.00
                                   1   Watch in Velvet Bag                                $1.00



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                                   6    Watches in Velvet Bag                             $1.00
                                   5    Watches in Velvet Bag                             $1.00
                                   3    Watches in Velvet Bag                             $1.00
                                  25    Ladies Jewelry                                    $1.00
21-FBl-003383         258 Gold Ingots & Gold Colored Coins from Box# 5005                 $1.00
                                  50    PAMP Containers; 25 1oz Gold Ingots in            $1.00
                                        each
                                  50    PAMP Containers; 25 1oz Gold Ingots in            $1.00
                                        each
                                  50    Plastic Containters; 25 1oz Gold Ingots in        $1.00
                                        each
                                 105    Gold Colored Coins                                $1.00
                                   3    PAMP Suisse Gold Ingots                           $1.00
21-FBl-003384         22 Collectable Coins & 2 Silver Bars from Box #8                    $1.00
                                   5    Silver Colored Coins                              $1.00
                                  17    Gold Colored Coins                                $1.00
                                   1    Johnson Matthey 10oz Silver Troy Bar              $1.00   612507
                                   1    10,300 Troy oz Silver Bar                         $1.00
21-FBl-003385         Miscellaneous Precious Items from Box 5409                          $4.00
                                  58    Coin, Yellow Metal Color                          $1.00
                                  19    Ingot, 5g Yellow Metal Color                      $1.00
                                   6    Ingot, 2.5g Yellow Metal Color                    $1.00
                                  14    Ingot, 1g Yellow Metal Color                      $1.00
21-FBl-003387         10 Gold Bars from Box #716                                          $1.00
                                  10    Gold Colored Bars                                 $1.00
21-FBl-003388         20 Miscellaneous Collectible Coins & 1 Gold Colored Bar from        $1.00
                      Box#713
                                  20    Miscellaneous Gold Colored Coins                  $1.00
                                   1    Gold Colored Bar                                  $1.00
21-FBl-003389         100 Gold Colored Coins ($50) from Box #4107                         $1.00
                                 100    Gold Colored Coins ($50)                          $1.00
21-FBl-003392         1 Gold Colored Bars & 2 Coins from Box #227                         $1.00
                                  19    Gold Colored Bars                                 $1.00
                                  10    Gold Colored Coins                                $1.00
21-FBl-003393         77 Miscellaneous Collectible Coins from Box #22                     $1.00
                                  42    Miscellaneous Collectible Coins in Blue Box       $1.00

                                 34     Miscellaneous Collectible Coins in Blue Box       $1.00

                                   1   Miscellaneous Collectible Coins in Clear           $1.00
                                       Box
21-FBl-003394         13 Gold Colored Bars from Box #513                                  $1.00
                                  13   Gold Colored Bars                                  $1.00
21-FBl-003396         79 Miscellaneous Coins & 37 White Bars from Box #6512.              $1.00
                                  19   Coins                                              $1.00
                                  32   32 White Metal Bars                                $1.00
                                   5   White Bars                                         $1.00
                                   3   3 Containers                                       $1.00
21-FBl-003397         Misc. Coins and Bars from Box #704                                  $1.00
                                   2   PAMP SUISSE 2.5g Fine Gold Ingot                   $1.00
                                   2   American Eagle 1oz Fine Gold $50 Coins in          $1.00
                                       Blue Display Box
                                   1   Standing Liberty 112oz Fine Gold $25 Coins         $1.00
                                       in Blue Display Box
                                   8   Canadian $10 Gold 114oz Fine Gold Coin             $1.00
                                   1   10oz Troy Silver 999 + Bar                         $1.00
                                   1   Standing Liberty 1oz Fine Gold $50 Coin            $1.00



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                                   9    Grant Wood Commemorative Coins                      $1.00
                                   5    Marian Anderson Commemorative Coins                 $1.00
                                   4    $100 Canadian Gold Coins                            $1.00
                                   1    $50 Canadian Gold Coin                              $1.00
                                   1    $100 Canadian Gold Coin                             $1.00
                                   2    112oz Gold Coins USA                                $1.00
                                   2    112oz Canada Gold Coins                             $1.00
                                  12    114oz Canada Gold Coins                             $1.00
                                   3    One Suisse Troy oz 999.9 Fine Gold Ingots           $1.00

                                   1   One oz Krugerrand Fine Gold Coin                     $1.00
                                   9   $100 Australian Platinum Coins in                    $1.00
                                       Containers
                                   2   112oz Canada Platinum Coins                          $1.00
                                   4   112oz Liberty Platinum Coins                         $1.00
                                   1   1oz Platinum Isle of Man Noble Coin                  $1.00
                                   1   1oz Platinum Switzerland Coin                        $1.00
                                   1   1oz Canada Platinum $50 Coin                         $1.00
                                   2   1oz Canada Platinum $50 Coins                        $1.00
                                   2   1oz Liberty Platinum $1 Coins                        $1.00
21-FBl-003398         Misc. Coins and Bars from Box #6208                                   $1.00
                                  17   PAMP Suisse 1 Troy oz 999.9 Fine Gold                $1.00
                                       Ingots
                                   2   Suisse 1oz Fine Gold 999.9 Ingots                    $1.00
                                   3   PAMP 2012 Lunar Calendar Series                      $1.00
                                       Dragon - Suisse 1oz Fine Gold 999.9 Ingots
                                  11   Miscellaneous Gold-Colored Coins                     $1.00
                                   1   Sunshine Minting Inc, 1 Troy oz Fine Gold            $1.00
                                       .9999 Ingot
                                   3   Credit Suisse 1oz 999.9 Fine Gold Ingots             $1.00
                                   1   Valcambi Suisse 1oz 999.9 Fine Gold Ingot            $1.00

21-FBl-003399         Misc. coins from Box# 2111                                            $1.00
                                  63    Gold-Colored $20 Coins in Individual Plastic        $1.00
                                        Containers
                                    2   PAMP Suisse 1oz Fine Gold 999.9                     $1.00
                                    1   NTR Metals .9999 Fine Gold, 1 Troy oz               $1.00
                                    1   Canadian $50 Gold 1oz Fine Gold                     $1.00
                                    1   South Africa Krugerrand 1oz Fine Gold               $1.00
                                  25    PAMP Suisse 1oz Fine Gold Rectangular               $1.00
                                        Ingots in Container
                                  25    PAMP Suisse 1oz Fine Gold Ingots                    $1.00
21-FBl-003421         Miscellaneous Precious Items from Box 3304                           $37.00
                                    1   Wach, white and yellow metal color, black           $1.00   J9K323777
                                        dial, labeled Rolex
                                    1   Earring, one pair, white metal color studs          $1.00
                                        with near colorless stones
                                    1   Watch, rose gold color metal labeled Piguet         $1.00   194438

                                        Bracelet, rose gold color metal, threaded           $1.00   EXC543
                                        with nuts
                                        Chain, approx. 24 inch yellow metal, fancy          $1.00
                                        rope
                                        Watch, white metal color near fully set with        $1.00
                                        near colorless stone, labeled Patek Philippe

                                   1    Chain, approx. 30.5 inch yellow metal, curb         $1.00
                                        link



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                                   3    Coin, yellow metal color, foreign                  $1.00
                                   1     Bracelet, 8 inch metal curb link                  $1.00
                                   1     Bracelet, yellow metal color, nail style          $1.00   DRY943
                                   1    Chain, approx. 22 inch yellow metal, curb          $1.00
                                        link
                                   1    Coin, 1 oz. The Holy Land Mint gold color,         $1.00   17251367
                                        2012
                                   1    Ingot, 1 oz. silver color                          $1.00
                                   1    Chain, approx. 30 inch yellow metal, curb          $1.00
                                        link with near colorless stones
                                   1    Chain, approx. 30 inch yellow metal, curb          $1.00
                                        link
                                   1    Chain, approx. 20.5 inch yellow metal,             $1.00
                                        byzantine link
                                   1    Chain, approx. 20.5 inch yellow metal,             $1.00
                                        byzantine link
                                   1    Chain, approx. 20.5 inch yellow metal,             $1.00
                                        byzantine link
                                        Bracelet, 7 inch silver color, tennis style with   $1.00
                                        near colorless stone clusters
                                   1    Watch, rose gold color labeled Cartier             $1.00   94238QX
                                   1    Chain, approx. 25 inch yellow metal, fancy         $1.00
                                        rope
                                   1    Chain, approx. 25 inch yellow metal, fancy         $1.00
                                        rope
                                   1    Chain, approx. 24 inch yellow metal, fancy         $1.00
                                        rope
                                   1    Watch, yellow metal color labeled Rolex            $1.00   2M9F5013
                                   1    Ring, white metal color with colorless             $1.00
                                        stones
                                   1    Watch, white and yellow metal color with           $1.00   4F2M8192
                                        near colorless index markers labeled Rolex

                                   1    Watch, yellow metal color labeled Rolex            $1.00   3638A6Y9
                                   1    Chain, approx. 24 inch yellow metal, curb          $1.00
                                        link
                                   1    Chain, approx. 30.5 inch yellow metal, curb        $1.00
                                        link with near colorless stones
                                   1    Watch, yellow metal color labeled Rolex            $1.00   E8Z36482
                                   1    Necklace, damaged approx. 22 incgh white           $1.00
                                        metal color with near colorless stones

                                   1   Chain, approx. 18 inch yellow metal, fancy          $1.00
                                       link with circlet pendant of three figures
                                  1    Ring, rose gold color metal with colored and        $1.00
                                       near colorless stones
                                  1    Chain, approx. 24 inch yellow metal, fancy          $1.00
                                       rope
                                  1    Chain, approx. 28 inch yellow metal, curb           $1.00
                                       link
                                  1    Watch, yellow metal color, white dial,              $1.00   V814048
                                       labeled Rolex
                                  1    Pendant, white metal color, near fully set          $1.00
                                       with near colorless stones (TRU)
21-FBl-003423         Miscellaneous Precious Items from Box 603                            $4.00
                                  1    Necklace, approx. 11.5 inch white metal             $1.00
                                       colored with near colorless stones and
                                       white beads



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                                   1    Earring, one pair of white color metal with        $1.00
                                        near colorless stones and white beads
                                   1    Necklace, approx. 16 inch white metal color,       $1.00
                                        chevron design with near colorless stone

                                   1    Bracelet, approx. 7.5 inch white metal color,      $1 .00
                                        chevron design links with near colorless
                                        stone
21-FBl-003424         Miscellaneous Precious Items Box 703                                 $4.00
                                  1    Watch , White color metal with black dial           $1.00
                                  1    Watch , White color metal with near                 $1 .00   486043YX
                                       colorless bezel labeled Cartier
                                       Ring, White metal colpr with oval shaped            $1.00
                                       blue colored stone surrounded by near
                                       colorless stones
                                363    Coin, Yellow color metal, Walking Liberty,          $1.00
                                       2020
21-FBl-003427         Miscellaneous Precious Items from Box 4404                           $9.00
                                  4    Ingot, 1g yellow metal color                        $1.00
                                128    Ingot, 2.5g yellow metal color                      $1.00
                                150    Ingot, 5g yellow metal color                        $1.00
                                  2    Ingot, 5g yellow metal color with frame             $1 .00
                                  3    Ingot, 5g yellow metal color                        $1.00
                                 23    Ingot, 1Og yellow metal color                       $1.00
                                  2    Ingot, 1/2 oz. yellow metal color                   $1.00
                                  2    Ingot, 1 oz. yellow metal color                     $1.00
                                106    Coin, various yellow metal color                    $1 .00
21-FBl-003428         Miscellaneous Precious Items from Box 7834                           $3.00
                                 43    Coin, Silver Metal Color                            $1.00
                                 51    Coin, Yellow Metal Color                            $1.00
                                 10    Coin, Silver Metal Color                            $1.00
21-FBl-003429         Miscellaneous Precious Items from Box 4203                          $10.00
                                 93    Coin , Silver Metal Color                           $1 .00
                                  1    Coin , Yellow Metal Color                           $1.00
                                  5    Ingot, 5g Yellow Metal Color                        $1.00
                                  5    Ingot, 1 oz. Yellow Metal Color                     $1.00
                                  1    Ingot, 100g Yellow Metal Color                      $1.00
                                  1    Ingot, 5-baht Yellow Metal Color                    $1 .00
                                  2    Bar, 1OOg Silver Metal Color                        $1.00
                                 15    Ingot, 1 troy oz. Silver Metal Color                $1.00
                                  3    Ingot, 1 troy oz. Silver Metal Color                $1.00
                                  2    Bar, 100 troy oz. Silver Metal Color                $1.00
21-FBl-003430         Miscellaneous Precious Items from Box 4902                           $1 .00
                                269    Coin, Yellow Metal Color                            $1 .00
21-FBl-003431         Miscellaneous Coins from Box 3505                                    $3.00
                                  3    Coin, Silver Metal Color                            $1.00
                                  4    Coin, Yellow Metal Color                            $1.00
                                  1    Coin, Bronze Metal Color labeled BitCoin            $1 .00
21-F 81-003432        Miscellaneous Precious Items from Box 505                            $7.00
                                 10    Ingot, 10 oz. Yellow Metal Color                    $1.00
                                 12    Coin , Yellow Metal Color                           $1.00
                                  3    Sheet, Yellow Metal Color                           $1.00
                                213    Coin, Yellow Metal Color                            $1.00
21-FBl-003433         Miscellaneous Precious Items from Box 805                            $4.00
                                 11    Coin, Yellow Metal Color                            $1.00
                                  1    Bar, 32.150 troy oz. Yellow Metal Color             $1.00
                                  1    Ingot, 1 oz. Yellow Metal Color                     $1.00



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U.S. Private Vaults                                      Notice of Seizure


                                  1    Bar, 10 troy oz. Silver Metal Color                 $1.00
21-FBl-003434         Miscellaneous Coins from Box 809                                     $1.00
                                 30    Coin, Silver Metal Color                            $1.00
21-FBl-003435         Miscellaneous Coins from Box 4803                                    $2.00
                                200    Coin, Silver Metal Color                            $1.00
                                 80    Coin, Yellow Metal Color                            $1.00
21-FBl-003436         Miscellaneous Precious Items from Box 3501                           $4.00
                                  5    Ingot, 1 oz. Yellow Metal Color                     $1.00
                                 13    Coin, Yellow Metal Color                            $1.00
                                  4    Ingot, 1g Yellow Metal Color                        $1.00
                                  3    Bar, 1000 Grain Silver Metal Color                  $1.00
21-FBl-003437         Miscellaneous Precious Items from Box 110                            $6.00
                                  1    Bar, 1000g Silver Metal Color                       $1.00    A090048
                                 10    Ingot, 100g Yellow Metal Color                      $1.00
                                  1    Ingot, 1 troy oz. Yellow Metal Color                $1.00
                                  2    Ingot, 50 gram Yellow Metal Color                   $1.00
                                  1    Ingot, 5 oz. Yellow Metal Color                     $1.00
                                  6    Ingot, 1 oz. Yellow Metal Color                     $1.00
21-FBl-003438         Miscellaneous Precious Items from Box 3200                           $5.00
                                 17    Ingot, 1 oz. Yellow Metal Color                     $1.00
                                  1    Ingot, 2g Yellow Metal Color                        $1 .00
                                  4    Ingot, 5g Yellow Metal Color                        $1 .00
                                  3    Ingot, 10g Yellow Metal Color                       $1 .00
                                  1    Ingot, 1/2 oz. Yellow Metal Color                   $1.00
21-FBl-003439         Miscellaneous Precious Items from Box 3503                           $1.00
                                  4    Bar, Misc. Silver Metal Color                       $1.00
21-FBl-003440         Miscellaneous Precious Items from Box #4106                         $16.00
                                  8    Miscellaneous 1 oz Gold Colored Ingots              $1.00
                                 37    Miscellaneous 1 Troy oz Gold Colored                $1.00
                                       Ingots
                                 16    1 Oz Gold Colored Ingots                            $1.00
                                 76    Miscellaneous 1 oz Gold Colored Ingots              $1 .00
                                  3    Miscellaneous 1 oz Gold Colored Ingots              $1.00
                                 87    Miscellaneous Gold Colored Coins                    $1.00
                                  8    Miscellaneous 10 oz Gold Colored Bars               $1.00
                                  1    1 oz Gold Coin                                      $1.00
                                108    Miscellaneous 1 oz Gold Colored Ingots              $1 .00
                                 27    Miscellaneous 1 oz Gold Colored Ingots              $1 .00
                                 42    1 Troy oz Gold Colored Ingots                       $1.00
                                  3    Miscellaneous 1 Troy oz Gold Colored                $1.00
                                       Ingots
                                 13    1 Oz Gold Colored Coins                             $1.00
                                 10    Miscellaneous Gold Colored Coins                    $1 .00
                                  1    Troy oz Gold Colored Bar                            $1.00
                                 12    Miscellaneous 10 oz Gold Colored Bars               $1.00
21-FBl-003441         Miscellaneous Precious Items from Box #4301                          $6.00
                                  2    Miscellaneous 1 Kilo Silver Colored Bars            $1.00
                                  3    Silver Colored Ingots                               $1.00
                                  8    Miscellaneous 10 Troy oz Silver Colored             $1.00
                                       Bars
                                514    Miscellaneous 1 Troy oz Silver Colored              $1.00
                                       Coins
                                 86    Miscellaneous 1 oz Silver Colored Coins             $1 .00
                                 54    Miscellaneous Silver Colored Coins                  $1 .00
21-FBl-003442         Miscellaneous Precious Items from Box #6711                          $2.00
                                 25    Miscellaneous 1 oz Walking Liberty Silver           $1.00
                                       Colored Dollar Coins in US Mint Container



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U.S. Private Vaults                                        Notice of Seizure

                                 25    Miscellaneous 1 oz Walking Liberty Silver           $1.00
                                       Colored Dollar Coins in US Mint Container
21-FBl-003443         Miscellaneous Precious Items from Box #6312                         $13.00
                                140    Miscellaneous Silver Colored Silver Dollar          $1.00
                                       Coins
                                 20    Silver Colored Silver Dollar Coins in               $1.00
                                       Professional Coin Grading Service
                                       Container
                                240     Miscellaneous Silver Colored Coins                 $1.00
                                 20     Silver Colored Silver Dollar Coins in              $1.00
                                        Professional Coin Grading Service
                                        Container
                                 20    Silver Colored Silver Dollar Coins in               $1.00
                                       Professional Coin Grading Service
                                       Container
                                 30    Miscellaneous Silvered Coins 3" Diameter           $1.00
                                 20    Silver Colored Silver Dollar Coins in              $1.00
                                       Professional Coin Grading Service
                                       Container
                                 20    Silver Colored Half Dollar Coins in                $1.00
                                       Professional Coin Grading Service
                                       Container
                                 20    Silver Colored Silver Dollar Coins in              $1.00
                                       Professional Coin Grading Service
                                       Container
                                 20    Silver Colored Silver Dollar Coins in              $1.00
                                       Professional Coin Grading Service
                                       Container
                                 10    Silver Colored Half Dollar Coins in                $1.00
                                       Professional Coin Grading Service
                                       Container
                                500    Silver Colored $5.00 Coins in Yellow               $1.00
                                       Container
                                  4    Silver Colored Silver Dollar Coins in              $1.00
                                       Professional Coin Grading Service
                                       Container
21-FBl-003444         Miscellaneous Poker Chips from Box #505                             $3.00    Poker Chips
                                 47    Poker Chip, Label Aria with $25,000                $1.00
                                  9    Poker Chip, Label Aria with $5,000                 $1.00
                                  1    Poker Chip, Label Aria with $100,000               $1.00




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                                        June 23, 2021



 Andrew Brown
 Victor A. Rodgers
 Maxwell Coll
 Assistant United States Attorneys
 United States Courthouse
 312 North Spring Street
 Los Angeles, CA 90012
 Via email

       Re:    USPV Cases Pending Before Judge Klausner – Misstatement
              Regarding USPV’s Claim

 Dear Counsel:

        In the above-referenced cases, on Page 3 of the oppositions you filed on June 22,
 2021, you told the Court:

       The USPV claim is signed by USPV’s attorney (Michael Singer, Esq.), not
       USPV itself. See Docket 28-3 (Gluck Decl. Ex. B [USPV claim--see page
       2 of 24 identifying Michael Singer as attorney and page 5 of 24 reflecting
       that attorney Michael Singer signed the claim]).

        This statement inaccurately describes the claim: Mr. Singer, who indeed happens
 to be an attorney for USPV, states clearly on both pages you reference that he is making
 the claim as USPV’s “authorized agent.”1 Your statement to the Court about his status as



       1
                A corporation such as USPV can only act through its authorized agents and
 there is no rule that prohibits lawyers from acting as authorized corporate agents or from
 being authorized to make a claim in administrative forfeiture. See, e.g., Smith,
 Prosecution and Defense of Forfeiture Cases, ¶ 6.02[4][b], at 33 n.66 (attorney may
 make claim under penalty of perjury if attorney has personal knowledge) (citing United
 States v. Funds From Fifth Third Bank, 2013 WL 5914101 (E.D. Mich., Nov. 4, 2013)).




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 an attorney while omitting his clearly identified status as its agent authorized to make the
 claim is, at best, highly misleading.

         To avoid relying on a misleading representation of the facts, please file an errata to
 correct the record by adding that Mr. Singer also indicated that he was acting as an
 “authorized agent.” If you decline to do so, we intend to seek leave to file a surreply so
 that the Court may be informed of the accurate record regarding USPV’s claim.

                                                   Sincerely,



                                                   Benjamin N. Gluck

 BNG:bng

 cc: Nicole Van Dyk
     Ashley Bowman
     Naomi Solomon
 3726670.1




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